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  1
                               UNITED STATES BANKRUPTCY COURT
  2
                                CENTRAL DISTRICT OF CALIFORNIA
  3
                                        LOS ANGELES DIVISION
  4

  5   In re:                                          Lead Case No. 2:17-bk-21386-SRK
      ZETTA JET USA, INC., a California               Chapter 7
  6   corporation,

  7        Debtor.                                    Jointly Administered With:
                                                      Case No.: 2:17-bk-21387-SRK)
  8
      In re:
      ZETTA JET PTE LTD., a Singaporean               Adv. Proc. No. 2:19-AP-01383-SK
  9
      corporation,
 10
           Debtor.                                    JOINT STIPULATION TO ADJOURN ALL
 11                                                   RESPONSES OF YUNTIAN, MINSHENG,
                                                      AND EDC DEFENDANTS
 12   JONATHAN D. KING, solely in his
      capacity as Chapter 7 Trustee of Zetta Jet
 13   USA, Inc. and Zetta Jet PTE, Ltd.
           Plaintiff,
 14
      v.
 15

 16   YUNTIAN 3 LEASING CO. DESIGNATED
      ACTIVITY CO. F/K/A YUNTIAN 3
 17   LEASING CO. LTD., ET AL.
 18        Defendants.
 19

 20
               WHEREAS, Plaintiff JONATHAN D. KING, solely in his capacity as Chapter 7 Trustee
 21
      of Zetta Jet USA, Inc. and Zetta Jet PTE, Ltd. (“Plaintiff”), Yuntian 3 Leasing Company Limited
 22
      Designated Activity Company f/k/a Yuntian 3 Leasing Company Limited (“Yuntian 3”), Yuntian
 23
      4 Leasing Company Designated Activity Company f/k/a Yuntian 4 Leasing Company Limited
 24
      (“Yuntian 4” and, collectively with Yuntian 3, the “Yuntian Entities”), Minsheng Business
 25
      Aviation Limited (“Minsheng Business”), Minsheng Financial Leasing Co. (“Minsheng
 26
      Financial” and collectively with Minsheng Business and the Yuntian Entities, the “Yuntian and
 27
      Minsheng Defendants”), and Export Development Canada (“EDC”) enter into this Joint
 28
              JOINT STIPULATION TO ADJOURN ALL RESPONSES OF YUNTIAN, MINSHENG, AND EDC
                                            DEFENDANTS
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 1   Stipulation to Adjourn All Responses of Yuntian, Minsheng and EDC Defendants (the “Joint

 2   Stipulation”).

 3            a.      On September 13, 2019, Plaintiff filed a complaint (the “Original Complaint”) in

 4   this adversary proceeding against the Yuntian and Minsheng Defendants, EDC, and other

 5   defendants;

 6            b.      On January 13 and 14, 2021, Plaintiff and the Yuntian and Minsheng Defendants

 7   mediated by Zoom Video Communications regarding the claims and defenses in this adversary

 8   proceeding and the jointly administered bankruptcy cases of Zetta Jet USA, Inc. and Zetta Jet PTE,

 9   Ltd.;

10            c.      On March 29, 2021, Plaintiff filed an amended adversary complaint (the “Amended

11   Adversary Complaint”) which included the Yuntian and Minsheng Defendants and EDC as

12   defendants. (Dkt. No. 232.) The Defendants’ responses to the Amended Adversary Complaint are

13   due on May 10, 2021 (Dkt. No. 215);

14            d.      As stated in open Court at the hearing in the Main Case onn March 31, 2021,

15   Plaintiff, the Yuntian and Minsheng Defendants, and EDC (collectively, the “Parties”) reached

16   agreement on the terms of a settlement agreement (the “Settlement Agreement”) which is

17   memorialized in Exhibit A to the settlement motion which is being filed contemporaneously with

18   this Joint Stipulation;

19           NOW, THEREFORE, the Parties hereby STIPULATE, subject to Court approval, to

20   adjourn sine die all applicable responsive dates and deadlines related to the Amended Complaint

21   for the Yuntian and Minsheng Defendants and EDC.

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             JOINT STIPULATION TO ADJOURN ALL RESPONSES OF YUNTIAN, MINSHENG AND EDC
                                           DEFENDANTS
                                                 2
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